105 F.3d 647
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Mark Steven MYERS, Plaintiff--Appellant,v.Tammy SAWYER, Defendant--Appellee,andAlbert L. AUSTON;  William L. Midgett, Defendants.
    No. 96-7273.
    United States Court of Appeals, Fourth Circuit.
    Submitted Nov. 12, 1996.Decided Jan. 14, 1997.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  James C. Fox, Chief District Judge.  (CA-95-151-5-F)
      Mark Steven Myers, Appellant Pro Se.
      Robert Harrison Sasser, III, Mark Allen Davis, WOMBLE, CARLYLE, SANDRIDGE &amp; RICE, Raleigh, North Carolina, for Appellee.
      Before HALL and WILKINS, Circuit Judges, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Mark Steven Myers appeals the district court's order denying relief on his 42 U.S.C. § 1983 (1994) complaint.  We have reviewed the record and the district court's opinion accepting the magistrate judge's recommendation and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Myers v. Sawyer, No. CA-95-151-5-F (E.D.N.C. Aug. 6, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    